                                                                                    19-83046-CRJ11
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - NORTHERN DIVISION

  In the Matter of:
   The Original Public House, Inc.         }     Case No: 19-83046-CRJ11
                                           }
     DEBTOR(S).                            }
                                           }
                                           }

                          COURTROOM NOTES CONTINUING
Matter(s):                   RE: Doc #5; Debtor's Motion to Approve Procedures for Payment
                             of Interim Compensation of Professionals
Date and Time:               Tuesday, October 15, 2019 10:00 AM
Appearances:                 Kevin D. Heard, attorney for The Original Public House, Inc.
                             (Debtor)
                             Richard M Blythe (Bankruptcy Administrator)
                             Kevin Gray, Bryant Bank

Courtroom Deputy:           MeShae Bogue
Presiding Judge:            CLIFTON R. JESSUP JR.

Court Notes:                Continued in open court to 11/4/19 at 2:30 p.m., at the Seybourn H.
                            Lynne Federal Courthouse, Cain Street Entrance, Courtroom 3rd
                            Floor, Decatur, Alabama.




Date Prepared:10/16/2019




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